                                                     THE HONORABLE MARY JO HESTON
 1                                                   CHAPTER 13
                                                     HEARING DATE: December 19, 2024
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                                                     HEARING TIME: 1:00 P.M.
 3                                                   LOCATION: Tacoma, Washington
                                                     RESPONSE DATE: December 12, 2024
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                   IN THE UNITED STATES BANKRUPTCY COURT FOR THE
 9                   WESTERN DISTRICT OF WASHINGTON AT TACOMA

10
       In re:                                        Case No.: 24-41481-MJH
11
       JENNIFER RUTH KAMP,                           TRUSTEE’S OBJECTION TO CLAIM NO. 5-1
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13
                                           Debtor.
14
                                                     NOTICE
15
            YOU ARE HEREBY NOTIFIED that a hearing on Trustee’s Objection to Claim will
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     be heard before the Honorable Mary Jo Heston at 1:00 P.M. on December 19, 2024, at the at
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     the U.S. Bankruptcy Courthouse, 1717 Pacific Avenue, Courtroom H, Tacoma, WA 98402.
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            IF YOU OPPOSE this motion, you must file your written response with the Court
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     Clerk and deliver copies on the undersigned and all interested parties, NOT LATER THAN
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     THE RESPONSE DATE, which is December 12, 2024. You should also appear at the time of
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22   hearing. If you fail to do so, the Court may enter an order granting the motion without any

23   hearing and without further notice.

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                                                                                   Michael G. Malaier
                                                                           Chapter 13 Standing Trustee
                                                                            5219 N. Shirley, Suite 101
     TRUSTEE’S OBJECTION TO CLAIM                    -1                            Ruston, WA 98407
                                                                                       (253) 572-6600
      Case 24-41481-MJH         Doc 102       Filed 10/30/24   Ent. 10/30/24 14:31:38      Pg. 1 of 2
                                               OBJECTION
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            COMES NOW, Michael G. Malaier, the Chapter 13 Standing Trustee and objects to
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     Claim No. 5-1, filed by Hepworth Legal in the amount of $97,420.05. Trustee objects to the
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     claim because Hepworth Legal does not possess a valid statutory attorney’s lien under the laws
 4
     of Utah.
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            Section 502(b)(1) of the Bankruptcy Code provides for disallowance of a claim if such

 7   claim is not enforceable against the debtor or debtor's property. 11 U.S.C. §502(b)(1). In support

 8   of its claim, Hepworth Legal filed a Notice of Lien, wherein it asserts a statutory attorney’s lien

 9   pursuant to Utah Code Ann. § 38–2–7. In Utah, “an attorney's lien arises by operation of law for

10   the balance of compensation due from a client on any money or property owned by the client that
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     is the subject of or connected with legal work performed for the client.” Rehn v. Christensen, 392
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     P.3d 872, 881 (Utah Ct. App. 2017) (citing Utah Code Ann. § 38–2–7(2)(a)). Ms. Kamp’s real
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     property was not the subject of or connected with the legal work performed by Hepworth Legal.
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     Consequently, no attorney’s lien arose by operation of the Utah Attorney’s Lien Statute. As
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     Hepworth Legal’s claim is based on an improper and unenforceable lien it should be disallowed.
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            WHEREFORE the Trustee respectfully requests that the Court sustain his objection and
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     enter an order disallowing Claim No. 5-1 in full.
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19          DATED this 30th day of October, 2024 at Tacoma, Washington.

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21
                                                         /s/ Amanda S. Douglass
22                                                       Amanda S. Douglass, WSBA #58822 for
                                                         Michael G. Malaier, Chapter 13 Trustee
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                                                                                      Michael G. Malaier
                                                                              Chapter 13 Standing Trustee
                                                                               5219 N. Shirley, Suite 101
     TRUSTEE’S OBJECTION TO CLAIM                 -2                                  Ruston, WA 98407
                                                                                          (253) 572-6600
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